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                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

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                                          No: 22-1226
                                      ___________________

 In re: Star Tribune Media Company LLC; American Public Media Group, (owner and operator
of Minnesota Public Radio); The Associated Press; Association of Minnesota Public Educational
Radio Stations; CBS Broadcasting, Inc., (on behalf of WCCO-TV and CBS News); Cable News
   Network, Inc.; Court TV Media, LLC; Fox/UTV Holdings LLC, (which owns KMSP-TV);
      Gannett Satellite Information Network, LLC, (which publishes USA Today); Hubbard
   Broadcasting, Inc. (on behalf of its broadcast stations KSTP-TV, WDIO-DT, KAAL, KOB,
 WNYT, WHEC-TV and WTOP-FM); Media News Group, (which owns the Saint Paul Pioneer
Press); Minnesota Coalition on Government Information; NBC Universal Media, LLC; National
   Public Radio,Inc.; The New York Times Company; Sahan Journal; Spokesman & Recorder
Publishing Co.; Tegna, Inc., (owner and operator of KARE-TV); The Silha Center for the Study
            of Media Ethics and Law; WP Company, LLC, d/b/a The Washington Post

                                        Petitioners
______________________________________________________________________________

              Appeal from U.S. District Court for the District of Minnesota
                                (0:21-cr-00108-PAM)
______________________________________________________________________________

                                            JUDGMENT


Before COLLOTON, GRUENDER and SHEPHERD, Circuit Judges.

      Star Tribune Media Company and other members of the media have petitioned for
      a writ of mandamus directing the district court to unseal a transcript of a trial
      management conference held with counsel in chambers on January 21, 2022, in
      United States v. Thao, et al., No. 21-cr-00108 (D. Minn.). The petition also seeks
      a writ vacating an order filed on January 24, 2022, that denied as moot a motion
      objecting to the in-chambers conference. A writ of mandamus is a “drastic and
      extraordinary remedy reserved for really extraordinary causes.” Cheney v. U.S.
      Dist. Ct. for D.C., 542 U.S. 367, 380 (2004) (internal quotation omitted). A writ
      may issue only when (1) the petitioners have no other adequate means to attain the
      relief they desire, (2) the right to issuance of the writ is clear and indisputable, and
      (3) this court, in the exercise of its discretion, is satisfied that the writ is appropriate
      under the circumstances. Id. at 380-81. In light of the responses of the parties and
      the district court, including the district court’s explanation that “at the end of the
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       case the Court will determine whether any sealed transcript or evidentiary matter
       can be unsealed and will take appropriate action,” the petition for writ of mandamus
       is denied.

                                                    February 25, 2022




Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
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            /s/ Michael E. Gans
